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                                                          03-md-1570 (GBD)(SN)
 In re Tenorist Attacks on September 11, 2001
                                                          ECF Case

 This document relates to:
                                                          15-cv-9903 (GBD)(SN)
 Thomas Burnett, Sr., et al. v. The Islamic
                                                          ECF Case
 Republic of Iran, et al.

        ORDER OF PARTIAL FINAL DEFAULT JUDGMENTS ON BEHALF OF
            BURNETT/IRAN PLAINTIFFS IDENTIFED AT EXHIBIT A

                                       (BURNETT I IRAN Ill)

        Upon consideration of the evidence and arguments submitted by Plaintiffs identified in

Exhibit A to this Order, plaintiffs in Thomas Burnett, Sr., et al. v. The Islamic Republic ofIran, et

al., 15-cv- 9903 ("Burnett/Iran"), who are each a spouse, parent, child, or sibling (or the estate of

a spouse, parent, child, or sibling) of a victim killed in the terrorist attacks on September 11, 2001,

and the Judgment by Default for liability only against the Islamic Republic of Iran, the Islamic

Revolutionary Guard Corps, and The Central Bank of the Islamic Republic of Iran (collectively,

the "Iran Defendants") entered on January 31, 2017 (15-cv-9903 ECF No. 85), together with the

entire record in this case, it is hereby;

        ORDERED that partial final judgment is entered against the Iran Defendants and on behalf

of the Plaintiffs in Thomas Burnett, Sr., et al. v. The Islamic Republic of Iran, et al., 15-cv-99O3,

as identified in the attached Exhibit A, who are each a spouse, parent, child, or sibling (or the estate

of a spouse, parent, child, or sibling) of individuals killed in the te1Torist attacks on September 11,

2001, as indicated in Exhibit A, and it is
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          ORDERED that Plaintiffs identified in Exhibit A are awarded: solatium damages of

$12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and $4,250,000 per sibling,

as set forth in Exhibit A; and it is

          ORDERED that Plaintiffs identified in Exhibit A are awarded: compensatory damages for

decedents' pain and suffering in an amount of $2,000,000 per estate, as set forth in Exhibit A; and

it is

          ORDERED that Plaintiffs identified in the expert reports attached as Exhibits B - D to the

Haefele Declaration, dated August 16, 2018 (and identified in Exhibit A), are awarded economic

damages as set forth in Exhibit A and as supported by the expert repmis and analyses submitted

as Exhibits B, C, and D of the Haefele Declaration, and it is

          ORDERED that Plaintiffs identified in Exhibit A are awarded prejudgment interest of 4.96

percent per annum, compounded annually, running from September 11, 2001 until the date of

judgment; and it is

          ORDERED that Plaintiffs identified in Exhibit A may submit an application for punitive

damages, economic damages, or other damages (to the extent such awards have not previously

been ordered) at a later date consistent with any future rulings made by this Court on this issue,

and it is

          ORDERED that the remaining Burnett/Iran Plaintiffs not appearing on Exhibit A, may

submit in later stages applications for damages awards, and to the extent they are for solatium or

by estates for compensatory damages' for decedents pain and suffering from the September 11

attacks, they will be approved consistent with those approved herein for the Plaintiffs appearing

on Exhibit A.
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Dated: New York, New York                      ERED:
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                                                                                                  EXHIBIT A


                        DECEDENT
       DECEDENT                     DECEDENT LAST                 PLAINTIFF        PLAINTIFF MIDDLE                                             RELATIONSHIP                        DECEDENT PAIN   DECEDENT
#                        MIDDLE                       SUFFIX                                             PLAINTIFF LAST NAME         SUFFIX                        SOLATIUM
      FIRST NAME                        NAME                     FIRST NAME             NAME                                                    TO DECEDENT                         AND SUFFERING ECONOMIC LOSS
                          NAME



1    Joseph                        Agnello                     Anthony                                Agnello                                 Sibling          $     4,250,000.00
2    Kermit        C.              Anderson                    Barbara         L.                     Werner                                  Child            $     8,500,000.00
3    Kermit        C.              Anderson                    Deborah         J.                     Anderson                                Child            $     8,500,000.00
4    Michael       Rourke          Andrews                     Edward          s.                     Andrews                                 Parent           $     8,500,000.00
5    Peter         Paul            Apollo                      Peter                                  Apollo (Estate of)       Jr.            Parent           $     8,500,000.00
6    Michael       Joseph          Armstrong                   Mary            E.                     Armstrong                               Parent           $     8,500,000.00
7    Michael       Joseph          Armstrong                   Gerard         J.                      Armstrong                               Sibling          $    4,250,000.00
8    Janice        Marie           Ashley                      Michael         William                Ashley                                  Sibling          $    4,250,000.00
9    Gerald        T.              Atwood                      Gregory         Paul                   Atwood                                  Sibling          $    4,250,000.00
10   Gerald        T.              Atwood                      Jane            Marie                  Duffy                                   Sibling          $    4,250,000.00
11   Guy                           Barzvi                      Arie                                   Barzvi (Estate of)                      Parent           $    8,500,000.00
12   .loon         P.              Bergin                      Agnes          T.                      Bergin                                  Parent           $    8,500,000.00
13   John          P.              Bergin                      George          R.                     Bergin (Estate of)                      Parent           $    8,Sb0,000.bO
14   John          P.              Bergin                      George          M.                     Bergin                                  Sibling          $    4,250,000.00
15   Brian                         Bilcher                     Irene          A.                      Bilcher                                 Parent           $    8,500,000.00
16   Albert        Balewa          Blackman         Jr.        Hyacinth                               Blackman                                Parent           $    8,500,000.00
17   Kelly         Ann             Booms                       Nancy          J.                      Booms                                   Parent           $    8,500,000.00
18   Michael       E.              Brennan                     Eileen         V.                      Walsh                                   Parent           $    8,500,000.00
19   Michael       E.              Brennan                     Michael         f.                     Brennan (Estate of)                     Parent           $    8,500,000.00
20   Nancy         Clare           Bueche                      Charles         G.                     McNulty                                 Sibling          $    4,250,000.00
21   Stephen                       Bunin                       Corinne        Loretta                 Bunin                                   Parent           $    8,500,000.00
22   Keith         James           Bums                        Bernard        J.                      Burns (Estate of)                       Parent           $    8,500,000.00
23   Patrick       D.              Byrne                       Robert         G.                      Byrne (Estate of)        Sr.            Parent           $    8,500,000.00
24   Patrick       D.              Byrne                       Robert         G.                      Byrne (Estate of)        Jr.            Sibling          $    4,250,000.00
25   Cecile        Marella         Caguicla                    Asuncion       Chana                   Caguicla Soriano                        Sibling          $    4,250,000.00
26   Sean                          Canavan                     Kathleen       A.                      McKean                                  Sibling          $    4,250,000.00
27   John          Francis         Casazza                     John           Francis                 Casana (Estate of)                      ESTATE                                $ 2,000,000.00   $ 21,897,195.00
28   Charles       L.              Chan                        Michael        J.                      Chan                                    Sibling          $    4,250,000.00
29   Rosa          M.              Chapa                       John           J.                      Chapa (Estate of)                       Child            $    8,500,000.00
30   Nestor        Julio           Chevalier        Jr.        Nestor         J.                      Chevalier                Sr.            Parent           $    8,500,000.00
31   John          G.              Chipura                     Nancy          J.                      Chipura                                 Sibling          $    4,250,000.00
32   Elaine                        Cillo                       Nunzi          C.                      Cillo (Estate of)                       Parent           $    8,500,000.00
33   James         Durward         Cleere                      Patricia       Cleere                  Wilgus                                  Sibling          $    4,250,000.00
34   John          Michael         Collins                     Martin         J.                      Collins                  Jr.            Sibling          $    4,250,000.00
35   Gerard        J.              Coppola                     George         J.                      Coppola (Estate of)      Sr.            Parent           $    8,500,000.00
36   Kenneth       J.              Cubas                       Lawrence       Mark                    Cubas (Estate of)                       Sibling          $    4,250,000.00
37   Laurence      D.              Curia                       Alice                                  Curia (Estate of)                       Parent           $    8,500,000.00
38   Laurence      D.              Curia                       Joseph                                 Curia (Estate of)                       Parent           $    8,500,000.00
39   Scott                         Davidson                    Carla          L                       Di Maggio                               Parent           $    8,500,000.00
40   Thomas        P.              DeAngelis                   Christine      Marie                   Caputo                                  Child            $    8,500,000.00
41   Thomas        P.              DeAngelis                   Thomas         James                   DeAngelis                               Child            $    8,S00,000.00
42   Simon         Marash          Dedvukaj                    Marash                                 Dedvukaj                                Parent           $    8,500,000.00
43   Simon         Marash          Dedvukaj                    Vitera                                 Dedvukaj                                Parent           $    8,500,000.00
44   Jason         Christopher     Defazio                     Michael        J.                      Defazio (Estate of)                     Sibling          $    4,250,000.00




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                                                                                                  EXHIBIT A


                         DECEDENT
        DECEDENT                     DECEDENT LAST                PLAINTIFF        PLAINTIFF MIDDLE                                         RELATIONSHIP                        DECEDENT PAIN   DECEDENT
#                         MIDDLE                       SUFFIX                                           PLAINTIFF I.AST NAME     SUFFIX                        SOLATIUM
       FIRST NAME                        NAME                    FIRST NAME             NAME                                                TO DECEDENT                         AND SUFFERING ECONOMIC LOSS
                           NAME


45    Neil          M.              Dollard                     Mary          K.                      Dollard                             Sibling          $     4,250,000.00
46    Stephen       Patrick         Driscoll                    Patrick       Joseph                  Driscoll (Estate of)                Parent           $     8,500,000.00
47    Stephen       Patrick         Driscoll                    Letitia                               Driscoll (Estate of)                Parent           $     8,500,000.00
48    Patrick       Joseph          Driscoll                    John          M.                      Driscoll (Estate of)                Sibling          $     4,250,000.00
49    Margaret      R.              Echtermann                  Johanna       L                       Kmetz                               Sibling          $     4,250,000.00
50    Barbara       Golian          Edwards                     Scott         C.                      Edwards                             Child            $     8,500,000.00
51    Michael                       Esposito                    Simone                                Esposito                 Sr.        Parent           $     8,500,000.00
52    Francis                       Esposito                    Catherine     Michelle                Esposito                            Sibling          $     4,250,000.00
53    Francis                       Esposito                    Richard                               Esposito                            Sibling          $     4,250,000.00
54    Kathleen                      Faragher                    Beverly       A.                      Faragher                            Parent           $     8,500,000.00
55    Kathleen                      Faragher                    William       E.                      Faragher (Estate of)     Sr.        Parent           $     8,500,000.00
s,;   WeruJ¥        Ruth            Faulkner                    Jeanette      E.                      Morris-Friedrich                    Sibling          $     4,250,000.00
57    Robert                        Fazio            Jr.        Robert        A.                      Fazio (Estate of)        Sr.        Parent           $     8,500,000.00
58    Robert                        Fazio            Jr.        Carole                                Lovero                              Sibling          $     4,250,000.00
59    Edward        Thomas          Fergus           Jr.        Dorothy       Anna                    Fergus                              Parent           $     8,500,000.00
60    Edward        Thomas          Fergus           Jr.        Edward        Thomas                  Fergus                   Sr.        Parent           $     8,500,000.00
61    Louis         V.              Fersini          Jr.        Minnie        D.                      Ferro                               Parent           $    8,500,000.00
62    Louis         V.              Fersini          Jr.        Josephine     N.                      Ponger                              Sibling          $    4,250,000.00
63    Louis         V.              Fersini          Jr.        Joseph        V.                      Fersini                  Sr.        Sibling          $    4,250,000.00
64    Louis         V.              Fersini          Jr.        Frieda                                Green                               Sibling          $    4,250,000.00
65    Jeffrey       L               Fox                         Eleanor                               Fox                                 Parent           $    8,500,000.00
66    James         Andrew          Gadiel                      George        Langdon Warner          Gadiel                              Sibling          $    4,250,000.00
67    Gary          Paul            Geidel                      Patricia      Marie                   Geidel (Estate of)                  Parent           $    8,500,000.00
68    James         G.              Geyer                       Philip        G.                      Geyer (Estate of)                   Parent           $    8,500,000.00
69    Catherine     C.              Gorayeb                     Claire        A.                      Gorayeb                             Sibling          $    4,250,000.00
70    Thomas        E.              Gorman                      Theresa       Rachel                  Gorman                              Parent           $    8,500,000.00
71    Thomas        E.              Gorman                      Edward        Thomas                  Gorman                              Parent           $    8,500,000.00
72    Thomas        E.              Gorman                      Theresa       Mary                    Creedon                             Sibling          $    4,250,000.00
73    Thomas        E.              Gorman                      John          Edward                  Gorman (Estate of)                  Sibling          $    4,250,000.00
74    David         Joseph          Grimner                     Teresa        L                       Grimner (Estate of)                 Parent           $    8,500,000.00
75    Steven        M.              Hagis                       Maryjane                              Hagis (Estate of)                   Parent           $    8,500,000.00
76    Carl          Max             Hammond          Jr.        Sue           M.                      Hammond (Estate of)                 Parent           $    8,500,000.00
77    Daniel        Edward          Harlin                      Wilbur                                Harlin (Estate of)                  Parent           $    8,500,000.00
78    Daniel        Edward          Harlin                      James         Michael                 Harlin                              Sibling          $    4,250,000.00
79    Aisha         Ann             Harris                      Arvette       Denise                  Harris                              Parent           $    8,500,000.00
80    John          P.              Hart                        Betty         J.                      Mathwig (Estate of)                 Parent           $    8,500,000.00
81    Scott                         Hazel corn                  Janice                                Hazel corn                          Parent           $    8,500,000.00
82    Charles       F.X.            Heeran                      Bernard       James                   Heeran                              Parent           $    8,500,000.00
83    Michelle      Marie           Henrique                    Patricia      A.                      Henrique                            Parent           $    8,500,000.00
84    Stephen       G.              Hoffman                     Jean          L                       Hoffman                             Parent           $    8,500,000.00
85    Angela        Marie           Houtz                       Julia         P.                      Shontere                            Parent           $    8,500,000.00
86    Robert        Joseph          Hymel                       Natalie       Christina               Conners                             Child            $    8,500,000.00
87    Yudh          V.              Jain                        Sargam                                Jain                                Child            $    8,500,000.00
88    Barbara       A.              Keating                     John          E.                      Keating                             Child            $    8,500,000.00




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                                                                                                        EXHIBIT A


                          DECEDENT
         DECEDENT                     DECEDENT !AST                     PLAINTIFF        PLAINTIFF MIDDLE                                               RELATIONSHIP                        DECEDENT PAIN   DECEDENT
 #                         MIDDLE                           SUFFIX                                            PLAINTIFF !AST NAME            SUFFIX                        SOLATIUM
        FIRST NAME                           NAME                      FIRST NAME             NAME                                                      TO DECEDENT                         AND SUFFERING ECONOMIC LOSS
                            NAME



89    Alan           David           Kleinberg                       Alan            David                  Kleinberg (Estate of)                     ESTATE                                $ 2,000,000.00 $ 51,711,383.00
90    Alan           David           Kleinberg                       Stanley         L.                     Kleinberg (Estate of)                     Parent           $     8,500,000.00
91    Danielle                       Kousoulis                       Peter           G.                     Kousoulis                                 Sibling          $     4,250,000.DD
92    Kathryn                        Laborie                         Harlan          G.                     Yancey                                    Parent           $     8,500,000.00
93    Joseph         A               La Falce                        Dominick        V.                     LaFalce                    Jr.            Sibling          $     4,250,000.00
94    Michele                        Lanza                           Albert          A.                     Chamberlain (Estate of)                   Parent           $     8,500,000.00
95    Michele                        Lanza                           Ethel           R.                     Chamberlain (Estate of)                   Parent           $     8,500,000.00
96    Stephen        Paul            Lefkowitz                       Lillian                                Lefkowitz (Estate of)                     Parent           $     8,500,000.00
97    Stephen        Paul            Lefkowitz                       Rubin                                  Lefkowitz (Estate of)                     Parent           $     8,500,000.00
98    John           J.              Lennon           Jr.            Lucille                                Lennon                                    Parent           $     8,500,000.00
99    John           J.              Lennon           Jr.            Nancy          Lennon                  Frain                                     Sibling          $     4,250,000.00
100   I.John         D.              Levi                            Jennifer       A.                      Levi                                      Child            $     8,500,000.00
101   Daniel                         Lewin                           Jonathan       A                       Lewin                                     Sibling          $     4,250,000.00
102   Daniel                         Libretti                        Joseph                                 Libretti                                  Sibling          $     4,250,000.00
103   Ralph          M.              Licciardi                       Sebastiano                             Licciardi (Estate of)                     Parent           $     8,500,000.00
104   Martin                         Lizzul                          Dana           Mary                    Lizzul                                    Sibling          $     4,250,000.00
105   Catherine      Lisa            Loguidice                       Rosanne        L.                      Spirito                                   Sibling          $     4,250,000.00
106   Stephen        V.              Long                            George         Thomas                  Long                                      Parent           $     8,500,000.00
107   Stephen        V.              Long                            George         w.                      Long                                      Sibling          $    4,250,000.00
108   Sean           Thomas          Lugano                          John           C.                      Lugano                                    Sibling          $    4,250,000.00
109   Sean           Patrick         Lynch                           Colleen        M.                      Watson                                    Sibling          $    4,250,000.00
110   Joseph                         Maffeo                          Susan                                  Drury                                     Sibling          $    4,250,000.00
111   Alfred         Russell         Maler                           Beverly        Virginia                Maler                                     Sibling          $    4,250,000.00
112   Alfred         Russell         Maler                           Jeanine        Michele                 Sherman                                   Sibling          $    4,250,000.00
113   Hildegard                      Marcin                          Elizabeth      Ann                     Kemmerer (Estate of)                      Child            $    8,500,000.00
114   Kevin          0.              Marlo                           Dennis         s.                      Marlo                                     Parent           $    8,500,000.00
115   Jose           Angel           Martinez         Jr.            Diane          L.                      Martinez                                  Child            $    8,500,000.00
116   Jose           Angel           Martinez         Jr.            Michele        C.                      Melendez                                  Child            $    8,500,000.00
117   Jose           Angel           Martinez         Jr.            Denise         A.                      Glaser                                    Child            $    8,500,000.00
118   Jose           Angel           Martinez         Jr.            JoAnne                                 Gregory                                   Child            $    8,500,000.00
119   Michael                        Massaro Ii                      Josephine                              Holubar                                   Parent           $    8,500,000.00
120   Philip         William         Mastrandrea      Jr.            Lynn           Marie                   Paragano                                  Sibling          $    4,250,000.00
121   Rudy                           Mastrocinque     Jr.            Sharon         A.                      Swailes                                   Sibling          $    4,250,000.00
122   Rudy                           Mastrocinque     Jr.            Rudy                                   Mastrocinque              Sr.             Parent           $    8,500,000.00
123   John           K.              McAvoy                          Michael        s.                      McAvoy                                    Sibling          $    4,250,000.00
124   Kevin          Michael         McCarthy                        Charles        E.                      McCarthy                  Sr.             Parent           $    8,500,000.00
125   Kevin          Michael         McCarthy                        Marie          P.                      McCarthy                                  Parent           $    8,500,000.00
126   Kevin          Michael         McCarthy                        Charles        E.                      McCarthy                  Jr.             Sibling          $    4,250,000.00
127   Mark           Ryan            McGinly                         Patricia       D.                      McGinly                                   Parent           $    8,500,000.00
128   Nicole         Carol           Miller                          Wayne          s.                      Stefani                   Jr.             Sibling          $    4,250,000.00
129   Paul           T.              Mitchell                        Marie          D.                      Mitchell                                  Sibling          $    4,250,000.00
130   Jeffrey        P.              Mladenik                        Scott          Louis                   Mladenik                                  Sibling          $    4,250,000.00
131   Brian          Patrick         Monaghan                        Jeanne         Ann                     Monaghan                                  Parent           $    8,500,000.00
132   Brian          Patrick         Monaghan                        Bernard        J.                      Monaghan                                  Parent           $    8,500,000.00




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                                                                                                EXHIBIT A


                         DECEDENT
        DECEDENT                     DECEDENT !AST              PLAINTIFF        PLAINTIFF MIDDLE                                             RELATIONSHIP                        DECEDENT PAIN   DECEDENT
#                         MIDDLE                     SUFFIX                                            PLAINTIFF !AST NAME         SUFFIX                        SOLATIUM
       FIRST NAME                        NAME                  FIRST NAME             NAME                                                    TO DECEDENT                         AND SUFFERING ECONOMIC LOSS
                           NAME



133   Brian         Patrick         Monaghan                  Danielle      M.                      Monaghan                                Sibling          $     4,250,000.00
134   Richard       J.              Morgan                    Catherine     Marie                   Morgan                                  Child            $     8,500,000.00
135   Christopher   Martel          Morrison                  Joseph        Edward                  Morrison (Estate of)                    Parent           $     8,500,000.00
136   Christopher   Martel          Morrison                  Marianne                              Merritt                                 Sibling          $     4,250,000.00
137   John          J.              Murray                    Philip        James                   Murray                                  Sibling          $     4,250,000.00
138   Joseph        Michael         Navas                     Joseph        N.                      Navas (Estate of)                       Parent           $     8,500,000.00
139   Ann           Nicole          Nelson                    Jenette       C.                      Nelson                                  Parent           $     8,500,000.00
140   Ann           Nicole          Nelson                    Gary          s.                      Nelson                                  Parent           $     8,500,000.00
141   Troy          Edward          Nilsen                    Edward        Carl                    Nilsen                                  Parent           $     8,500,000.00
142   Katherine     McGarry         Noack                     Kathryn       Marie                   McGarry (Estate of)                     Parent           $     8,500,000.00
143   John          Alexander       Ogonowski                 Joseph                                Ogonowski                               Sibling          $     4,250,000.00
144   Thomas        1€eraro         O'Hagan                   Francis       P.                      0 'Hagan (Estate of)     Sr.            Parent           $     8,500,000.00
145   Gerald        M.              Olcott                    Graig         A.                      Olcott                                  Child            $     8,500,000.00
146   Gerald        M.              Olcott                    Christopher   G.                      Olcott                                  Child            $     8,500,000.00
147   Christine                     Olender                   Stella                                Olender                                 Parent           $     8,500,000.00
148   Christine                     Olender                   John          Casimir                 Olender                                 Parent           $     8,500,000.00
149   Eric          Taube           Olsen                     Taube                                 Olsen (Estate of)                       Parent           $     8,500,000.00
150   Kevin         M.              O'Rourke                  Dennis        Martin                  O'Rourke                                Parent           $    8,500,000.00
151   James         Robert          Ostrowski                 Jill          Anne                    McCullough                              Sibling          $    4,250,000.00
152   Todd          Joseph          Ouida                     Amy           R.                      Morik                                   Sibling          $    4,250,000.00
153   Diana         B.              Padro                     Lillian                               Borrero                                 Sibling          $    4,250,000.00
154   Paul          J.              Pansini                   Joseph        L                       Pansini                                 Sibling          $    4,250,000.00
155   Marie                         Pappalardo                Gary          C.                      Pappalardo                              Sibling          $    4,250,000.00
156   Avnish        Ramanbhai       Patel                     Yogesh        R.                      Patel                                   Sibling          $    4,250,000.00
157   Cira          Marie           Patti                     Michael                               Patti                    Jr.            Sibling          $    4,250,000.00
158   Thomas                        Pedicini                  Nancy         N.                      Pedicini (Estate of)                    Parent           $    8,500,000.00
159   Thomas                        Pedicini                  Albert        Anthony                 Pedicini (Estate of)                    Parent           $    8,500,000.00
160   Danny                         Pesce                     Frank                                 Pesce                                   Sibling          $    4,250,000.00
161   Donald        A.              Peterson                  D.            Hamilton                Peterson                                Child            $    8,500,000.00
162   Donald        A.              Peterson                  Charles       R.                      Peterson                                Child            $    8,500,000.00
163   Joshua        Michael         Piver                     Susan         s.                      Piver                                   Parent           $    8,500,000.00
164   Thomas        H.              Polhemus                  Olga          L                       Polhemus (Estate of)                    Parent           $    8,500,000.00
165   Ricardo       J.              Quinn                     Bernard       Joseph                  Quinn                                   Sibling          $    4,250,000.00
166   Donald                        Regan                     Margaret                              Regan                                   Sibling          $    4,250,000.00
167   Donald                        Regan                     Eileen                                Regan                                   Sibling          $    4,250,000.00
168   Ann Marie                     Riccoboni                 Janine                                Passelis                                Child            $    8,500,000.00
169   Ann Marie                     Riccoboni                 Maria-Elena                           Santorelli                              Child            $    8,500,000.00
170   David         H.              Rice                      Hugh          David                   Rice                                    Parent           $    8,500,000.00
171   Joseph        R.              Riverso                   William       D.                      Riverso                                 Sibling          $    4,250,000.00
172   Joseph                        Roberto                   Robert                                Roberto                  Jr.            Sibling          $    4,250,000.00
173   Michael       E.              Roberts                   Paulette      M.                      Roberts                                 Parent           $    8,500,000.00
174   Michael       E.              Roberts                   Lisa          Ann                     Roberts                                 Sibling          $    4,250,000.00
175   Daniel        James           Rosetti                   Ricki         A.                      Rosetti (Estate of)                     Sibling          $    4,250,000.00
176   Francis       John            Sadocha                   Susan         T.                      Sadocha                                 Sibling          $    4,250,000.00




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                                                                                                  EXHIBIT A


                         DECEDENT
        DECEDENT                     DECEDENT LAST                PLAINTIFF        PLAINTIFF MIDDLE                                             RELATIONSHIP                        DECEDENT PAIN   DECEDENT
 #                        MIDDLE                       SUFFIX                                            PLAINTIFF LAST NAME         SUFFIX                        SOLATIUM
       FIRST NAME                        NAME                    FIRST NAME             NAME                                                    TO DECEDENT                         AND SUFFERING ECONOMIC LOSS
                           NAME


177   Jude          Elias           Safi                        John                                  Safi                                    Sibling          $     4,250,000.00
178   Samuel        Robert          Salvo            Jr.        David          Robert                 Salvo                                   Child            $     8,500,000.00
179   Samuel        Robert          Salvo            Jr.        Susan          s.                     Glick                                   Child            $     8,500,000.00
180   Samuel        Robert          Salvo            Jr.        Gladys         H.                     Salvo                                   Spouse           $   12,500,000.00
181   Michelle                      Scarpitta                   Steven                                Scarpitta                               Sibling          $     4,250,000.00
182   Matthew       Carmen          Sellitto                    Jonathan       Di Giovanni            Sellitto (Estate of)                    Sibling          $     4,250,000.00
183   Robert        J.              Shay             Jr.        Carolyn        A.                     Shay                                    Sibling          $     4,250,000.00
184   Robert        J.              Shay             Jr.        Eileen         M.                     Shay-Martinez                           Sibling          $     4,250,000.00
185   Robert        J.              Shay             Jr.        Kathleen       P.                     Shay                                    Sibling          $     4,250,000.00
186   Robert        J.              Shay             Jr.        Maureen        L                      Surko-Pomante                           Sibling          $    4,250,000.00
187   Linda         June            Sheehan                     Daniel        J.                      Sheehan (Estate of)                     Parent           $     8,500,000.00
Wt    iotm          P.              Skala                       Jaroslawa                             Skala                                   Sibling          $    4,250,000.00
189   Mari-Rae                      Sopp er                     Raymond       w.                      Sopp er (Estate of)                     Parent           $    8,soo,000:00
190   Jeffrey                       Stark                       Rosemary       Ann                    Stark                                   Parent           $    8,500,000. 00
191   Jeffrey                       Stark                       Therese                               Stark                                   Sibling          $    4,250,000.00
192   Jeffrey                       Stark                       John                                  Stark                                   Sibling          $    4,250,000.00
193   Michael       James           Stewart                     Janet         s.                      Stewart-Davies                          Sibling          $    4,250,000.00
194   James         J.              Straine          Jr.        Kathleen                              O'Hara                                  Sibling          $    4,250,000.00
195   Joann                         Tabeek                      Eleanor                               Neville (Estate of)                     Parent           $    8,500,000.00
196   Joann                         Tabeek                      Michael                               Smith                                   Sibling          $    4,250,000.00
197   Joann                         Tabeek                      William       Joseph                  Smith                    Jr.            Sibling          $    4,250,000.00
198   John          Marcy           Talignani                   Armand         M.                     Talignani (Estate of)                   Sibling          $    4,250,000.00
199   Michael       C.              Tarrou                      Patricia       Peterson               Tarrou                                  Parent           $    8,500,000.00
200   Michael       C.              Tarrou                      Gigi          T.                      Hintz                                   Sibling          $    4,250,000.00
201   Michael       M.              Taylor                      Clara         s.                      Taylor                                  Parent           $    8,500,000.00
202   Michael       M.              Taylor                      Mary          Kaye                    Crenshaw                                Sibling          $    4,250,000.00
203   Michael       M.              Taylor                      James         J.                      Taylor                                  Sibling          $    4,250,000.00
204   Dorothy                       Temple                      Jacqueline    F.                      Temple                                  Sibling          $    4,250,000.00
205   Dorothy                       Temple                      Larry         J.                      Temple                                  Sibling          $    4,250,000.00
206   John          P.              Tierney                     John                                  Tierney (Estate of)                     Parent           $    8,500,000.00
207   Kenneth       F.              Tietjen                     Janice        A.                      Tietjen                                 Parent           $    8,500,000.00
208   Kenneth       F.              Tietjen                     Kenneth       A.                      Tietjen                                 Parent           $    8,500,000.00
209   Alicia        Nicole          Titus                       Beverly       J.                      Titus                                   Parent           $    8,500,000.00
210   Alicia        Nicole          Titus                       John          L                       Titus                                   Parent           $    8,500,000.00
211   Amy           E.              Toyen                       Martin                                Toyen                                   Parent           $    8,500,000.00
212   Jennifer      Lynn            Tzemis                      Nancy         D.                      Tzemis                                  Parent           $    8,500,000.00
213   John          Damien          Vaccacio                    Anne          Marie                   Vaccacio                                Parent           $    8,500,000.00
214   John          Damien          Vaccacio                    James         R.                      Vaccacio                                Parent           $    8,500,000.00
215   Bradley       H.              Vadas                       Donald        Joseph                  Vadas                                   Parent           $    8,500,000.00
216   Kenneth       warren          Van Au ken                  Kenneth       Warren                  Van Au ken (Estate of)                  ESTATE                                $ 2,000,000.00   $ 7,085,037.00
217   Daniel        Maurice         van Laere                   Margaret      Rita                    Van Laere (Estate of)                   Parent           $    8,500,000.00
218   Joseph        B.              Vilardo                     Antionette                            Vilardo (Estate of)                     Parent           $    8,500,000.00
219   Joseph        B.              Vilardo                     Benedict      J.                      Vilardo (Estate of)                     Parent           $    8,500,000.00
220   Wendy         A.              Wakeford                    Clara         L                       Pachomski                               Sibling          $    4,250,000.00




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                                               Case 1:03-md-01570-GBD-SN Document 4126 Filed 08/28/18 Page 9 of 9



                                                                                                EXHIBIT A


                         DECEDENT
        DECEDENT                     DECEDENT LAST              PLAINTIFF        PLAINTIFF MIDDLE                                             RELATIONSHIP                         DECEDENT PAIN   DECEDENT
#                         MIDDLE                     SUFFIX                                           PLAINTIFF LAST NAME           SUFFIX                        SOLATIUM
       FIRST NAME                        NAME                  FIRST NAME             NAME                                                    TO DECEDENT                          AND SUFFERING ECONOMIC LOSS
                           NAME


221   Stephen       Gordon          Ward                      Gordon        M.                      Ward                                     Parent           $     8,500,000.00
222   Steven                        Weinberg                  Leonard                               Weinberg (Estate of)                     Parent           $     8,500,000.00
223   Eugene        Michael         Whelan                    Joan          A.                      Whelan                                   Parent           $     8,500,000.00
224   Leslie        Ann             Whittington               Horace        G.                      Whittington (Estate of)                  Parent           $     8,500,000.00
225   Alison        M.              Wildman                   Arthur        s.                      Wildman                   Jr.            Parent           $     8,500,000.00
226   Glenn         J.              Winuk                     Seymour                               Winuk (Estate of)                        Parent           $     8,500,000.00
227   Patrick                       Woods                     Eileen        M.                      Woods                                    Parent           $     8,500,000.00
228   Patrick                       Woods                     Patrick       J.                      Woods                     Sr.            Parent           $     8,500,000.00
229   Patrick                       Woods                     Thomas        R.                      Woods                                    Sibling          $     4,250,000.00
230   Patrick                       Woods                     Christopher   E.                      Woods                                    Sibling          $     4,250,000.00
231   Myrna                         Yaskulka                  Hal                                   Yaskulka                                 Child            $     8,500,000.00
232   Myrna                         Yaskulka                  Jay           E.                      Yaskulka                                 Child            $     8,500,000.00
      Myrna                         YasKUIKa                  Brian         G.                      YasKUIKa                                 Child            $     8,500,000.00
233
                                                                                                                                                       TOTAL: $ 1,559,500,000.00 $ 6,000,000.00 $ 80,693,615.00




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